             Case 3:10-cv-00967-SRU Document 63 Filed 02/14/11 Page 1 of 3



UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
POPTECH, L.P.,                                          )
                                                        )    CIVIL ACTION NO.:
Plaintiff,                                              )    3:10-cv-00967 (MRK)
                                                        )
v.                                                      )
                                                        )
STEWARDSHIP INVESTMENT                                  )
ADVISORS, LLC, et al.,                                  )
                                                        )
Defendants.                                             )    FEBRUARY 14, 2011



                          DEFENDANT PAUL SEIDENWAR’S
                    MOTION TO DISMISS THE AMENDED COMPLAINT

              Pursuant to Rules 9(b), 12(b)(1) and 12(b)(6) of the Federal Rules of Civil

     Procedure and the Private Securities Litigation Reform Act of 1995 (“PSLRA”),

     Defendant Paul Seidenwar (“Seidenwar”) respectfully requests that the Court dismiss

     Plaintiff Poptech’s Amended Complaint against Seidenwar.

              As set forth more fully in the Memorandum of Law accompanying this motion, in

     Count II, the sole federal claim against Seidenwar in the Amended Complaint, Poptech

     has failed to state a claim in accordance with the standards imposed by Fed.R.Civ.P. 9(b),

     12(b)(6) and the PSLRA. Count II fails to state a claim under § 20(a) of the Securities

     Exchange Act of 1934 (“Exchange Act”) because (a) it fails to allege that a controlled

     person committed a primary violation of § 10(b) of the Exchange Act as alleged against

     certain other defendants in Count I of the Amended Complaint; (b) it fails to allege that

     Seidenwar controlled any of the defendants alleged to have violated § 10(b); and (c) it

     fails to allege culpable participation by Seidenwar in any § 10(b) violation alleged in

     Count I.
      Case 3:10-cv-00967-SRU Document 63 Filed 02/14/11 Page 2 of 3




Further, dismissal of the federal claim in Count II should lead to dismissal of the state

claim set forth in Count IV for lack of subject matter jurisdiction. No special

circumstances warrant the exercise of supplemental jurisdiction in the absence of a viable

federal claim.

       WHEREFORE, Defendant Paul Seidenwar respectfully requests that this Motion

be GRANTED and that Counts II and IV of Plaintiff Poptech, L.P.’s Amended

Complaint be DISMISSED as against Defendant Paul Seidenwar.



                                              DEFENDANT PAUL SEIDENWAR
                                      By:     /s/ Abbe R. Tiger
                                              Abbe R. Tiger phv 04461
                                              LAW OFFICE OF ABBE R. TIGER PLLC
                                              40 Fulton Street, 23rd Floor
                                              New York, NY 10010
                                              Phone: 212-285-8000
                                              Fax: 212-981-3309
                                               abbe@abbetiger.com




                                                                                            2
     Case 3:10-cv-00967-SRU Document 63 Filed 02/14/11 Page 3 of 3




                            CERTIFICATE OF SERVICE

I hereby certify that on February 14, 2011, a copy of foregoing Motion to Dismiss was
filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.



                                             /s/ Abbe R. Tiger
                                             Abbe R. Tiger phv 04461
                                             LAW OFFICE OF ABBE R. TIGER PLLC
                                             40 Fulton Street, 23rd Floor
                                             New York, NY 10010
                                             Phone: 212-285-8000
                                             Fax: 212-981-3309
                                              abbe@abbetiger.com
